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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                     Case No.: 8:18-bk-02807-RCT
                                                           Chapter 7
Mark Alan Piburn
Judith Ann Piburn


         Debtor(s)                    /



                       SUPPLEMENTAL CERTIFICATE OF SERVICE

         I CERTIFY that on May 3, 2019 a true and correct copy of the Motion To Sell Real
Property And Pay Secured Creditor(S) And Transactional Costs (Dkt. No. 30) was served by
electronic delivery or U. S. Mail to the following:

Mark & Judith Piburn, 2690 Alturas Road, Bartow, FL 33830

                                      Respectfully submitted,

                                          /s/ Richard M. Dauval
                                      Richard M. Dauval, Attorney for the Trustee
                                      PO Box 13607
                                      St. Petersburg, FL 33733
                                      (727) 327-3328
